67 F.3d 298
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff--Appellee,v.Charlie Wade POWELL, Defendant--Appellant.
    No. 95-6276.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 29, 1995.Decided Sept. 22, 1995.
    
      Charlie Wade Powell, Appellant Pro Se.
      Before MURNAGHAN, WILKINS, and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order affirming pursuant to 28 U.S.C.A. Sec. 636(6)(1)(A) (West 1993) and Fed.R.Civ.P. 72(a), the magistrate judge's order denying his requests for copies of legal documents.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Powell, No. CR-88-193 (M.D.N.C. Jan. 27, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    